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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

 JARED GAUMER,                           )
                                         )
                Plaintiff,               )
                                         ) Case No. 1:21-cv-06063
 v.                                      )
                                         )
 NORTHROP GRUMMAN                        )
 CORPORATION,                            )
                                         )
                Defendant.               )
                                         )

                             NOTICE OF VOLUNTARY DISMISSAL

        Plaintiff, Jared Gaumer, by and through his attorneys, Lopp Mathias Law, pursuant to
Federal Rules of Civil Procedure 41(a), issues this Notice of Voluntary Dismissal whereby
the action is dismissed by without prejudice.



                                            By:     /s/ Megan Lopp Mathias_________
                                                    One of his Attorneys

Megan Lopp Mathias (#6280497)
LOPP MATHIAS LAW
1030 W. Chicago, Avenue
Chicago, IL 60642
(312) 882-5458
megan@loppmathiaslaw.com
